Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 1 of 7




                      EXHIBIT B
      Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 2 of 7
                                                                                    MEMORANDUM
                                                                                          May 5, 2023




TO:           Chief Executive Officers
              Chief Human Resources Officers
              Chief Student Service Officers
              Chief Instructional Officers
              Academic Senate Presidents



FROM: Abdimalik Buul, Ed.D, Visiting Executive of Educational Excellence and
      Equal Employment Opportunity Program

RE:        Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations



The California Community Colleges Board of Governors (Board of Governors) has determined that
community college employees should develop the professional skills, knowledge, and behaviors
necessary to provide our diverse student population with the welcoming and inclusive campus
environments that are necessary to student success and more equitable outcomes through the
reduction of achievement gaps. This guidance is intended to assist community colleges in
achieving these objectives.


Summary
Adopted by the Board of Governors in September 2019, the Diversity Equity and Inclusion
Integration Plan called for the Chancellor’s Office and the Diversity, Equity, Inclusion, and
Accessibility (DEIA) Implementation Workgroup to establish the enabling conditions for local
districts and colleges to embed DEIA competencies and criteria for all California Community
College (CCC) employees through employee evaluation and tenure review processes. On May 23,
2022, the Board of Governors took action to establish a DEIA competency and criteria framework
that can serve as a minimum standard for evaluating all California Community College employees
2) by adopting regulations to enable colleges and districts to discuss and adopt the minimum
skills, abilities, and knowledge, employees must possess or would need to acquire to teach, work,
and lead at California Community Colleges.
The regulations were given final approval by the Department of Finance on March 17, 2023, and
became effective April 16, 2023. Pursuant to title 5, California Code of Regulations, section 52010,
community college districts should conform their policies and procedures to the regulatory
requirements within one hundred and eighty (180) days of this effective date.

Chancellor’s Office, Educational Services & Support
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        Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 3 of 7
Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations
May 5, 2023


The purpose of this memorandum is to provide information regarding the Evaluation and tenure
review of district employees and the resources that are available to support districts and colleges
with local implementation of these regulations.
A full-text copy of the approved DEIA Evaluation and Tenure Review regulations and DEIA
competencies and criteria are attached to this memorandum.



Background
Integrating DEIA Competencies and Criteria

Several strategies in the DEIA Integration Plan recommend embedding diversity-focused criteria
in employee evaluation and tenure review processes, as well as a diversity performance criterion
in the local board self-evaluation process. These recommendations are in alignment with the
Vision for Success and the Governor’s Recovery with Equity Roadmap that calls out the
incorporation of “equity-centered practices into teaching and learning, grading, annual
evaluations, and faculty review/tenure processes.”

To advance efforts around these strategies, a subgroup of the DEIA Implementation Workgroup
was tasked with developing DEIA competencies and criteria for employee evaluations and tenure
review processes. The subgroup engaged in multiple learning sessions. The information from
these learning sessions helped inform the Chancellor’s Office and the subgroup’s co-design of a
DEIA competencies and criteria framework which provides sample activities relating to the skills,
knowledge, and behaviors that California Community College employees must demonstrate or
acquire to work, teach, and lead in a diverse community college environment committed to the
success of all students. The DEIA competencies and criteria provide a starting point for
community college districts to integrate evaluation and tenure processes at the local level.

The DEIA competency and criteria framework was intentionally designed as an example of how
districts can develop a framework that is equity-centered and developmental in nature to support
the continuous growth of all employees to become more aware, active, and effective in diversity
efforts. It recognizes variety among employees and employee groups, including those that do not
typically interact with students or who hold leadership positions.

The DEIA competencies are categorized into the following themes:

    •    Cultural Competency,
    •    Professional Self-Reflection,
    •    Professional Self-Improvement,
    •    DEIA Pedagogy and Curriculum,


                                           Memorandum | Page 2 of 6
        Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 4 of 7
Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations
May 5, 2023


    •    Data, and
    •    DEIA and Mission.

Within each theme is a non-exhaustive list of actions for employees to demonstrate their
understanding, skills, behaviors, and commitment to engaging in equitable practices while
working in the California community college system with the ultimate goal of increasing student
success. Colleges and districts are strongly encouraged to reference these competencies and
criteria as a baseline when they commence their work to embed DEIA competencies and criteria
into their local employee evaluation and tenure review processes. Establishing a competency
framework in the employee evaluation and tenure review process creates a developmental cycle
for employees to demonstrate growth in skills, knowledge, and behaviors. Colleges and districts
are encouraged to innovate and locally discuss the list of recommended DEIA competencies and
criteria.

Integrating DEIA in Evaluation and Tenure Review Processes

As the subgroup developed the DEIA competencies and criteria, it became evident that a review of
existing regulatory language on employee evaluations and tenure review was needed. The review
process was comprehensive, involving consultation with many stakeholder groups. The review
process determined that the regulations indeed needed to be amended and new regulatory
language needed to be proposed to make DEIA-focused competencies and criteria a minimum
standard and a system-wide requirement. The DEIA Implementation Workgroup and the sub-
workgroup, which represent a diversity of system stakeholder associations, took part in several
stages of system consultation. The draft revisions to the regulations were then shared with
additional key stakeholder groups including the Equal Employment Opportunity and Diversity
Advisory Committee (EEODAC), state labor union leadership, and the Consultation Council. Each
of these groups were invited to provide direct feedback on the proposed regulations. The
regulations include terminology and definitions (e.g., academic employee, accessibility, diversity,
etc.) in reference to required resources to help guide implementation and to establish a common
understanding and expectations. The evaluation and tenure review regulations are intended to
advance and strengthen equitable student outcomes by providing employees with measurable
actions to support the diverse needs and learning variability of our students. The regulations
were presented for first reading at the March 17, 2022, Board of Governors meeting and were
approved by the Board at its meeting on May 23, 2022.




                                           Memorandum | Page 3 of 6
        Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 5 of 7
Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations
May 5, 2023


Overview of Regulatory Changes
The following changes were made to subchapter 1, of chapter 4 of division 6 of title 5 of the
California Code of Regulations:

    ●    Sections 52510, 53425, 53601, 53602, and 53605 were added;
    ●    Sections 53400, 53401, and 53403 were amended; and
    ●    Section 53402 was repealed.

Notable changes are located in sections 52510 which provides a comprehensive list of working
definitions for districts to considerFurthermore, 53425 reinforces our systems commitment to
work with diverse individual and communities' while 53605 articulates the specific DEIA
obligations such as Educational and other Administrators shall include DEIA and anti-racist
principles into existing policies and practices, funding allocations, decision-making, planning,
and program review processes This section also mentions faculty members employing teaching,
learning, and professional practices that reflect DEIA and anti-racist principles, and in particular,
respect for, and acknowledgement of the diverse backgrounds of students and colleagues to
improve equitable student outcomes and course completion.

Section 53602 listed below guides The DEIA competencies and criteria used as a reference for
locally developed minimum standards in community college district performance evaluations of
employees and faculty tenure reviews as noted in 53601 (b):

53602 states the following:

(a) District governing boards shall adopt policies for the evaluation of employee performance,
including tenure reviews, that requires demonstrated, or progress toward, proficiency in the
locally-developed DEIA competencies or those published by the Chancellor pursuant to section
53601.

(b) The evaluation of district employees must include consideration of an employee's
demonstrated, or progress toward, proficiency in diversity, equity, inclusion, and accessibility
DEIA-related competencies that enable work with diverse communities, as required by section
53425. District employees must have or establish proficiency in DEIA-related performance to
teach, work, or lead within California community colleges.

(c) To advance DEIA principles in community college employment, districts shall:

         (1) include DEIA competencies and criteria as a minimum standard for evaluating the
performance of all employees;


                                           Memorandum | Page 4 of 6
      Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 6 of 7
Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations
May 5, 2023


        (2) ensure that evaluators have a consistent understanding of how to evaluate
employees on DEIA competencies and criteria;

        (3) set clear expectations regarding employee performance related to DEIA principles,
appropriately tailored to the employee's classification;

        (4) place significant emphasis on DEIA competencies in employee evaluation and tenure
review processes to support employee growth, development, and career advancement;

        (5) ensure professional development opportunities support employee development of
DEIA competencies that contribute to an inclusive campus and classroom culture and
equitable student outcomes;

        6) ensure an evaluation process that provides employees an opportunity to
demonstrate their understanding of DEIA and anti-racist competencies.

        (7) include proposed or active implementation goals to integrate DEIA principles as a
part of the district's Equal Employment Opportunity Plan required by section 53003.

These regulations impact all the employees of the educational ecosystem as 53605b mentions:

Educational and other Administrators shall include DEIA and anti-racist principles into existing
policies and practices, funding allocations, decision-making, planning, and program review
processes. These processes shall take into account the experience and performance of
students and colleagues of diverse backgrounds, and work to close equity gaps in student
outcomes and hiring(c) Staff members shall promote and incorporate culturally affirming DEIA
and anti-racist principles to nurture and create a respectful, inclusive, and equitable learning
and work environment. In conducting their duties, staff members shall respect and
acknowledge the diversity of students and colleagues.




Next Steps
The regulations became effective on April 16, 2023, and the next phase requires local
implementation by community college districts. Districts are encouraged to begin the local
implementation process of embedding DEIA competencies and criteria by engaging in
conversations with stakeholders and conducting a review of their existing local evaluation and
tenure review processes. Districts may utilize the DEIA competencies and criteria framework as a
baseline for developing their own competencies.
The Chancellor’s Office is committed to creating the enabling conditions to support districts with
their local implementation efforts. In addition to developing the DEIA competency and criteria


                                           Memorandum | Page 5 of 6
          Case 1:23-cv-00848-ADA-CDB Document 10-5 Filed 07/13/23 Page 7 of 7
Guidance on Implementation of DEIA Evaluation and Tenure Review Regulations
May 5, 2023


framework and updating Title 5 regulations on evaluation and tenure review, the Chancellor’s
Office has also revised the EEO Plan Template to establish accountability in the evaluation and
tenure review processes.
Additionally, the Chancellor’s Office has published DEIA resources to assist with increasing
awareness and understanding of DEIA efforts. They include the Diversity, Equity, Inclusion, and
Accessibility (DEIA) Glossary and two modules on cultural competency and implicit bias. These
modules are available on the Vision Resource Center. Everyone who completes these learning
modules will receive a certificate of completion. The modules are:
      ●    “I Don’t See Color, I Just See People: Becoming Culturally Competent” - this module
           examines the way in which the U.S. educational system perpetuates inequity and
           introduces various frameworks that can be leveraged to promote cultural competence
           and improve students’ experiences on campus.
      ●    “Playing Behind the Screen: The Implicit Bias in Our Colleges” - this module
           introduces implicit bias and how it manifests on a college campus. The module offers
           strategies to address implicit bias at the institutional level to improve the educational
           outcomes for students and experiences for everyone on our campuses.
Lastly, the Chancellor’s Office Institutional Effectiveness Partnership Initiative (IEPI) division will
provide additional resources and opportunities for professional development, highlight California
community colleges that have begun to embed DEIA into their evaluation and tenure review
processes, and share scalable promising practices that contribute to inclusive and culturally
sensitive working and learning environments that benefit all students.
Should you have any questions about this guidance, please email Dr. Abdimalik Buul at
abuul@cccco.edu.


cc:        Dr. Daisy Gonzales, Interim Chancellor
           Dr. Lizette Navarette, Interim Deputy Chancellor
           David O’Brien, Vice Chancellor, Government Relations
           Dr. Siria Martinez., Assistant Vice Chancellor, Student Equity & Success

Attachments:

      ●    Final Title 5 Regulation Text for DEIA Evaluation and Tenure Review of District Employees,
           Effective April 16, 2023
      ●    DEIA Competencies and Criteria Framework




                                           Memorandum | Page 6 of 6
